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                            IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
                                    BRUNSWICK DIVISION

PAUL CREWS,

        Plaintiff,
                                                       CA NO. 5:18-cv-78
v.

TAHSIN INDUSTRIAL CORP USA,

      Defendant.
______________________________________________________________________________


                     DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        COMES NOW, Defendant, Tahsin Industrial Corp., U.S.A. (“Defendant”) and moves

this Court to enter summary judgment in their favor, dismissing the action on the ground that

there is no genuine issue as to any material fact and that said Defendant is entitled to judgment as

a matter of law.

        This Motion is based upon:

        (a)      The pleadings and discovery filed or to be filed in this action;

        (b)      Defendant’s Statement of Material Facts Not in Dispute and Brief in Support of

                 Motion for Summary Judgment;

        (c)      The deposition of Plaintiff Paul Crews;

        (d)      The deposition of James Dylan Crews;

        (e)      The affidavit of George Saunders;

        (f)      The affidavit of LJ Smith;

        (g)      The exhibits appended to Defendant’s Statement of Material Facts Not in Dispute

                 and Brief in Support; and



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        (h)      All other matters of record.

Defendant reserve the right to submit additional evidence in support of its Motion prior to any

hearing thereon subject to the terms and conditions prescribed by the Court.



WHEREFORE, said Defendant respectfully requests that his Motion be GRANTED.


This 11th day of October, 2019.

                                                CLARK HILL, PLC

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                                      CERTIFICATE OF SERVICE

        I hereby certify that on October 11, 2019 I served a copy of the foregoing via CM/ECF

system which will send notification of such filing to all counsel of record.




                                               /s/Lisa Simpkins__________________
                                               Lisa Simpkins




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